                       IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF ALABAMA
                                  NORTHERN DIVISION


 WILLIAM BARRIER ROBERTS,                                  )
                                                           )
          Plaintiff,                                       )
                                                           )    Case No. 18-83442-CRJ11
 v.                                                        )
                                                           )    AP No. 19-80017-CRJ
 MELANIE HAMMER MURRAY,                                    )
                                                           )
 Defendant.                                                )
                                                           )

              COUNTERCLAIM PLAINTIFFS’ LIMITED OBJECTION TO
            TENTATIVE ORDER DISMISSING ADVERSARY PROCEEDING

          COME NOW, Melanie Hammer Murray (“Murray”) and Bullet & Barrel, LLC (“Bullet

 & Barrel” and, together with Murray, the “Counterclaim Plaintiffs”), and, out of an abundance of

 caution, and for their limited objection to the Court’s Tentative Order Dismissing Adversary Pro-

 ceeding (AP Doc. 106)1 state as follows:

          1.       On November 16, 2018, Debtor commenced the Case by filing a voluntary petition

 for relief under chapter 11 of the Bankruptcy Code, (BK Doc. 1), and, on March 21, 2019, Debtor

 filed his Complaint and commenced this AP.2

          2.       Sometime thereafter, the Court consolidated the contested matter between the Coun-

 terclaim Plaintiffs and Debtor concerning the Debtor’s objections to the Counterclaim Plaintiffs’

 claims in the Case with this AP.


 1
  References to the docket of the above-captioned adversary proceeding (this “AP”) shall be denoted as “(AP Doc.
 __)”. References to the docket of the chapter 11 Case No. 18-83442-CRJ11 (the “Case”) shall be denoted as “(BK
 Doc. __)”.
 2
   The definitions of capitalized terms used but not defined herein are provided by the Counterclaim Plaintiffs’ Motion
 to Withdraw Pending Motions to Withdraw Claims, Motion to Extend Deadline to Object to Confirmation; Objection
 to Confirmation, Objection to Motion to Reject Executory Contracts, Limited Objection to Motion to Convert to Chap-
 ter 7, and Motion to Dismiss Chapter 11 Case (BK Doc. 371) (the “Confirmation Opposition”).




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         3.      Following the Court’s decision not to grant Murray relief from the automatic stay to

 purchase additional Units from Bullet & Barrel, the Counterclaim Plaintiffs filed their Withdrawal

 Requests, seeking to withdraw their remaining claims 10 and 14 against the Estate (such claims, the

 “Remaining Claims”).

         4.      As set out in the Confirmation Opposition, the Remaining Claims were never formally

 withdrawn because the requirements of Bankruptcy Rule 3006 were never satisfied.

         5.      The Counterclaim Plaintiffs have no objection to the dismissal of this AP, provided

 that such dismissal will not in any way be deemed an adjudication that their Remaining Claims, which

 the Counterclaim Plaintiffs expressly reserve the right to enforce against the Estate, are disallowed.

         6.      Thus, out of an abundance of caution, the Counterclaim Plaintiffs object to the dis-

 missal of the AP only to the extent that such dismissal would be deemed to impair, in any way, their

 Remaining Claims.

         WHEREFORE, PREMISES CONSIDERED, the Counterclaim Plaintiffs respectfully request

 that this honorable Court enter an Order dismissing this AP that expressly provides that the entry of

 such Order shall not affect the Counterclaim Plaintiffs’ ability to assert their Remaining Claims

 against the Estate.



         July 8, 2020                               /s/ Christian A. Pereyda
                                                    S. Andrew Kelly
                                                    Christian A. Pereyda

                                                    Attorneys for Counterclaim Plaintiffs




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                               CERTIFICATE OF SERVICE

        I hereby certify that on February 21, 2020, the foregoing was electronically filed with the

 Clerk of the Court using the CM/ECF system, which will send notification of such filing to all

 counsel of record, and on the following:

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